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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )               ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant’s petition for reduction

in sentencing under Fair Sentencing Act H.B. 1789 in accordance

with Sec. 3582(c)(2) (Filing No. 226) is denied.

           DATED this 4th day of April, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
